
49 Ill. App.2d 101 (1964)
199 N.E.2d 457
People of the State of Illinois, Defendant in Error,
v.
Robert Carpenter, Plaintiff in Error.
Gen. No. 64-16.
Illinois Appellate Court  Fifth District.
May 29, 1964.
Robert Carpenter, pro se, of Menard, plaintiff in error.
John M. Karns, Jr., State's Attorney, of Belleville (James H. Bandy, Assistant State's Attorney, of counsel), for defendant in error.
(Abstract of Decision.)
Opinion by JUSTICE REYNOLDS.
Reversed and remanded for new trial.
Not to be published in full.
